                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

WARREN DAVIS PROPERTIES XXV,                         )
L.L.C., a Missouri limited liability company,        )
                                                     )
and                                                  )
                                                     )     Case No. 6:21-CV-03177
DAVIS PROPERTY MANAGEMENT,                           )
L.L.C., a Missouri limited liability company,        )     Removed from Circuit Court of
                                                     )     Greene County, Missouri
                       Plaintiffs,                   )     Cause No. 2131-CC00573
                                                     )
                       v.                            )
                                                     )
ZURICH AMERICAN INSURANCE                            )
COMPANY, an Illinois corporation,                    )
                                                     )
and                                                  )
                                                     )
AMERICAN GUARANTEE AND                               )
LIABILITY INSURANCE COMPANY,                         )
an Illinois corporation,                             )
                                                     )
                       Defendants.                   )

       SUGGESTIONS IN OPPOSITION TO ZURICH AMERICAN INSURANCE
          COMPANY’S MOTION TO DISMISS PLAINTIFFS’ PETITION

       COME NOW, Plaintiffs, Warren Davis Properties XXV, L.L.C., a Missouri limited

liability company and Davis Property Management, L.L.C., a Missouri limited liability company,

and for their Suggestions in Opposition to Zurich American Insurance Company’s Motion to

Dismiss Plaintiffs’ Petition state as follows:

                                            Introduction

       Defendant Zurich American Insurance Company, an Illinois corporation (“Zurich”) filed

a Rule 12(b)(6) Motion to Dismiss (the “Motion”) for failure to state a claim based upon the


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assertion that it is a parent corporation with no liability for the actions of its subsidiary,

Defendant American Guarantee and Liability Insurance Company, an Illinois corporation

(“AGLIC”). Neither Zurich nor AGLIC dispute that Plaintiffs can bring the present action

against AGLIC.

       In Defendant Zurich American Insurance Company’s Suggestions in Support of its

Motion to Dismiss Plaintiffs’ Petition (the “Suggestions”), Zurich relies entirely upon an

interpretation of the Missouri Rules of Civil Procedure to argue that Plaintiffs did not plead

sufficient facts to hold Zurich liable. However, Zurich incorrectly relies upon Missouri civil

procedure rules, which obviously do not govern civil procedure in federal court. And when

applying the correct federal standard, Plaintiffs survive the Rule 12(b)(6) Motion, because the

Petition alleges sufficient facts to place in issue that AGLIC is the alter ego of Zurich.

                                          Legal Standard

       The Federal Rules of Civil Procedure “apply to a civil action after it is removed from a

state court.” Fed. R. Civ. P. 81(c)(1). Thus, the Federal Rules – not Missouri rules – apply to

Zurich’s motion. The Johnson Court provides an in-depth explanation of how the Court should

consider a Rule 12(b)(6) motion to dismiss:

       “[T]o survive motion to dismiss, “a complaint must contain sufficient factual

       matter, accepted as true, to ‘state a claim to relief that is plausible on its face. A

       claim is plausible on its face where “the plaintiff pleads factual content that

       allows the court to draw the reasonable inference that the defendant is liable for

       the conduct alleged,’ and ‘raise[s] a right to relief above the speculative level.’”

       Johnson v. Precythe, 954 F.3d 1098, 1101 (8th Cir. 2020) (quoting Ashcroft v.


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       Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

       (2007).

                 “At the same time, however, the rules of procedure continue to allow

       notice pleading through a ‘short and plain statement of the claim showing that the

       pleader is entitled to relief.’” Id. (quoting Erickson v. Pardus, 551 U.S. 89, 93

       (2007; Fed. R. Civ. P.8(a)(2)). “’Specific facts are not necessary; the statement

       need only ‘give the decent fair notice of what the … claim is and the ground upon

       which it rests.’’” Id. (quoting Erickson, 551 U.S. at 93; Twombly, 550 U.S. at

       555).

                                           Argument

       This Court should deny the Motion, because Zurich (1) incorrectly relies upon Missouri

civil procedure rules as governing civil procedure in federal court, and (2) does not satisfy the

correct legal standard necessary to grant its Rule 12(b)(6) Motion.

(1) The Federal Rules of Civil Procedure apply, and not Missouri rules.

       Rule 81(c)(1) is clear. The Federal Rules of Civil Procedure govern civil procedure in

federal court. However, Zurich’s entire Suggestions are predicated upon its interpretation of the

Missouri Rules of Civil Procedure. The single sentence of Missouri rules cited by Zurich does

not comport with the two paragraphs necessary to describe the Federal Rules. Therefore, all

Zurich’s arguments springing from this misstatement of the law also fail to comport with the

Federal Rules, and so its Motion should be denied.

(2) Plaintiffs’ Petition satisfies the Federal Rule pleading requirements necessary to survive a

Rule 12(b)(6) motion to dismiss.


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       Zurich cites Doe 1631 to imply that Plaintiffs may sue Zurich “only if the following three

factors are shown,” and then lists those factors. Suggestions, p. 3. Again, Zurich misstates the

law. Doe 1631 concerns a directed verdict following discovery, and not a motion to dismiss prior

to any discovery. Furthermore, under Johnson, (1) Plaintiffs need only plead facts that “give

decent fair notice” of the claim, and (2) these facts should allow “the court to draw the

reasonable inference that the defendant is liable for the conduct alleged.” See Johnson, 954 F.3d

at 1101. Zurich does not dispute that it has fair notice of the claim, and so the first element is not

at issue. Instead, Zurich would have this Court surrender its capacity to draw reasonable

inferences in favor of assuming the role of fact finder to determine now, without the benefit of

discovery, whether the facts of this case meet Zurich’s determination of relevant law.

       Plaintiffs deny Zurich’s citation of Doe 1631 as the only relevant law, but without

waiving this denial, assert that the facts in the Petition are sufficient for the Court to reasonably

infer satisfaction of the three factors Doe 1631 sets forth. From the Plaintiffs’ perspective – and

insurance consumers’ generally – nothing indicates that Zurich and AGLIC are in any way

separate. All outward facing business of AGLIC is conducted with Zurich as its face. Exhibit A

to the Petition is the insurance policy, which is titled “The Zurich EDGE Policy”, written on

Zurich letterhead, copyrighted by Zurich, provides contact information only for Zurich and its

employees, and provides notice “on behalf of Zurich American Insurance Company.” Exhibits D

and E are communications from Zurich employees listing Zurich contact information to the

Plaintiffs regarding Zurich’s determination on how to administer the AGLIC policy, and

speaking on behalf of AGLIC. The facts in the Petition reasonably lead to an inference that

Zurich (i) completely dominates AGLIC’s policy and business practices in respect to the


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transaction attacked, (ii) such control was used to commit the wrong Plaintiffs allege (improper

denial of their insurance claim), and (iii) are the proximate cause of the injury to Plaintiff.

       It may be that discovery will show that AGLIC and Zurich operate completely separately

and that each stands in its own right legally, but from what appears in the Petition and Plaintiffs’

exhibits thereto, the present inference is that Zurich controlled the investigation and denial of this

insurance claim, on a policy that lists Zurich’s name prominently and only references AGLIC in

the fine print. Therefore, this Court should deny the Motion.

       WHEREFORE, Plaintiffs pray this Court enter an Order denying Zurich American

Insurance Company’s Motion to Dismiss Plaintiffs’ Petition, and for such other and further relief

as the Court deems just.

                                      Respectfully Submitted,

                                              CARNAHAN, EVANS, CANTWELL
                                                    & BROWN, P.C.

                                               By:     /s/ John Price
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                               CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 5th day of August, 2021 a true and correct copy of
the foregoing Suggestions in Opposition to Zurich American Insurance Company’s Motion
to Dismiss Plaintiffs’ Petition was filed with the Court via the CM/ECF electronic filing
system, in compliance with L.R. 5.1.



                                                   /s/ John Price
                                                   Attorney of Record




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